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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgm ent in a Crim inal Case



                                 UNITED STATES DISTRICT COURT
                                     MIDDLE District of Alabama
UNITED STATES OF AMERICA

         v.                                                             Case Number 3:09-CR-0106-LSC-TFM

DEON TERESE NELMS (2)                                                   USM # 12766-002
    Defendant.


                                         JUDGMENT IN A CRIMINAL CASE
                               (For Offenses Committed On or After November 1, 1987)

         The defendant, DEON TERESE NELMS (2), was represented by James M. Smith.

         On motion of the United States, the court has dismissed with prejudice counts 1, 3, and 4 of the indictment.

         The defendant pleaded guilty to count 1 of Information. Accordingly, the defendant is adjudged guilty of
the following count, involving the indicated offense:

Title & Section                                Nature of Offense              Offense Concluded   Count Num ber

21 USC § 846                        Conspiracy to Distribute Cocaine Base         5/22/2009            1

     As pronounced on May 13, 2010, the defendant is sentenced as provided in pages 2 through 5 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count
1, which shall be due immediately, payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box
711, Montgomery, AL 36104.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

         Done this 19th day of May 2010.




                                                                        L. SCOTT COOGLER
                                                                   UNITED STATES DISTRICT JUDGE
                                                                        124019
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Im prisonm ent


                                                                                                Judgment--Page 2 of 5
Defendant: DEON TERESE NELMS (2)
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                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of SIXTY (60) months as to Count 1.

      The Court recommends to the Bureau of Prisons that the defendant be evaluated and allowed to participate
in RDAP (500 hour intensive drug treatment program) and be housed as close as possible to his family in Auburn,
AL. Drug treatment should take first priority.

         The defendant is remanded to the custody of the United States Marshal.




                                                               RETURN

         I have executed this Judgment as follows:




         Defendant delivered on                       to                                   at
                     , with a certified copy of this Judgment.



                                                                   United States Marshal

                                             By
                                                                        Deputy Marshal
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release

                                                                                                                  Judgment--Page 3 of 5
Defendant: DEON TERESE NELMS (2)
Case Number: 3:09-CR-0106-LSC-TFM

                                            SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of 48 months.
The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions
of supervised release.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

U        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

U        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is
a student, as directed by the student, as directed by the probation officer. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
month;

3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)       the defendant shall support his or her dependents and meet other family responsibilities;

5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release

                                                                                                                Judgment--Page 4 of 5
Defendant: DEON TERESE NELMS (2)
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                              CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE


9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;


12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release


                                                                                                                 Judgment--Page 5 of 5
Defendant: DEON TERESE NELMS (2)
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                                               SPECIAL CONDITIONS OF SUPERVISION

W hile the defendant is on supervised release pursuant to this Judgm ent:

1)   The defendant shall participate in a program approved by the United States Probation O ffice for substance abuse, which m ay include
     testing to determ ine whether the defendant has reverted to the use of drugs. The defendant shall contribute to the cost of any treatm ent
     based on ability to pay and the availability of third-party paym ents.
2)   The defendant shall also subm it to a search of his person, residence office or vehicle pursuant to the search policy of the court.
